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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 24-80116-CR-CANNON

   UNITED STATES OF AMERICA,
       Plaintiff,

         vs.

   RYAN WESLEY ROUTH,
       Defendant.
                                        /

      DEFENDANT RYAN ROUTH’S RESPONSE TO THE GOVERNMENT’S
           MOTION TO EXCLUDE DEFENSE EXPERT (DE 167)

         The Defendant Ryan Routh, through counsel, responds to the government’s

   Motion to Exclude Defense Expert to prohibit Mr. McClay to “voice any opinion.” DE

   167:13. The Government’s attempt to preclude any defense expert testimony to

   impeach and rebut two of their nine listed experts is without merit.

      In the law, ‘what's sauce for the goose is normally sauce for the gander,’ and
      we ‘have applied this commonsense principle of equal treatment in the context
      of expert witnesses.’ It is therefore ‘an abuse of discretion to exclude the
      otherwise admissible opinion of a party's expert on a critical issue, while
      allowing the opinion of his adversary's expert on the same issue.’ This
      principle, we think, also applies when the Defense wants to present expert
      testimony to counter factual testimony and/or lay opinions offered by
      government witnesses.

   United States v. Graham, 123 F.4th 1197, 1266 (11th Cir. 2024) (quoting United

   States v. Knowles, 889 F.3d 1251, 1257–58 (11th Cir. 2018) and United States v.

   Lankford, 955 F.2d 1545, 1552 (11th Cir. 1993)) (internal citations omitted).

         While the Government may desire to strip the Defendant of his right to call an

   expert and/or rebut their expert testimony, the United States Constitution and



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   Federal Rules of Evidence provide otherwise. The expert disclosure, if even necessary

   as impeachment, in no manner violates Federal Rule of Criminal Procedure 16 nor

   any rule of Evidence. Mr. Routh has the right under the Fifth Amendment Due

   Process Clause and the Sixth Amendment right to present a defense, and this Court

   should not allow the government to hinder his ability to mount a defense and,

   critically, to rebut government expert witnesses. Finally, should Mr. McClay be

   excluded, Mr. Routh submits that due process requires the exclusion of the

   government’s firearms experts as well.

                             APPLICABLE FACTUAL HISTORY

            The Government filed their expert disclosures. On November 17, 2023, the

   government noted eight expert opinions, including of;

      i.       Erich D. Smith, FBI Firearms/Toolmark Examiner

            The summary of testimony/opinion and basis of his testimony included, “The

   reports produced on November 13, 2024, as part of the Government’s Second

   Response to the Standing Discovery Order [D.E. 71] at Bates Number Gov004318-

   4357 and Bates Number GovExp000324-330 contain a summary of Examiner Smith’s

   anticipated opinions and basis and reasons for those opinions.” As mentioned in court,

   the government expects Mr. Smith to testify that the rifle in question is operable.

      ii.      Special Agent, Federal Bureau of Investigation, Special Weapons and
               Tactics Team

            The Government indicated that they “anticipate(s) calling an expert witness to

   testify from his or her special weapons and tactical expertise regarding the

   Defendant’s activities and positioning in connection with his attempted shooting of


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   the victim. This witness’s name, qualifications and past testimony will be provided

   upon identification of this witness.” For the summary and basis of this agent’s

   testimony, the government stated that

             This witness will testify regarding, among other things, the Defendant’s
             observation point, also known as the final firing point (“FFP”); Defendant’s
             reconnaissance, selection, measurement, and “up-armoring” of the FFP; the
             contents and tactical significance of Defendant’s notes and Internet research
             relating to measurement and targeting; as well as capacity of weapons
             system(s) seized from the crime scene. This witness will also testify regarding
             how and why a vantage point is desirable for a particular target, the factors
             that can affect a shot, the capacity of the weapon to include, the quantity of
             ammunition that can be stored and caliber and operation of the weapons
             system. This witness will testify about methods employed to avoid detection
             and sustainment of Defendant’s FFP. This witness will define terms of art in
             this field to include, “hold over,” “hold off,” “known zero,” “magnification level
             of the optic,” “scope,” “rifle,” “point of aim,” “point of impact,” “standard
             deviation of the weapon,” “detachable box and fixed magazines,” and
             “sporterized.”

             On February 3, 2025, the Government disclosed three additional expert

   opinions, including of

      iii.      Nicholas Schnelle, FBI Special Agent, Special Weapons and Tactics Team

   The government stated the summary of his testimony and opinion as

             Special Agent Schnelle will, as the Government indicated in its initial expert
             disclosure, testify from his extensive special weapons and tactical expertise
             and training regarding the Defendant’s activities and positioning in connection
             with his attempted shooting of the victim. This witness will testify regarding,
             among other things, the Defendant’s observation point, also known as the final
             firing point (“FFP”); Defendant’s reconnaissance, selection, measurement, and
             “up-armoring” of the FFP; the contents and tactical significance of Defendant’s
             notes and Internet research relating to measurement and targeting; as well as
             capacity of weapons system(s) seized from the crime scene. This witness will
             also testify regarding how and why a vantage point is desirable for a particular
             target, the factors that can affect a shot, the capacity of the weapon, the
             quantity of ammunition that can be stored and caliber and operation of the
             weapons system. This witness will testify about methods employed to avoid



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         detection and sustainment of Defendant’s FFP. This witness also will define
         terms of art in this field.
         For example:
         Location of Final Firing Point: The position chosen by the Defendant located
         outside the chain link fence and in line with a mostly unobstructed view of the
         6th and 7th holes as a place to wait for President Trump to arrive was a good
         sniper “hide,” also known as a final firing point. The location chosen by Routh
         provided a relatively easy shot at President Trump on the 6th hole even
         without a “zeroed” rifle scope or with iron sights because the cart path that the
         President would have driven on, as well as the 6th green and hole flag, were a
         close distance away from his location. The 6th hole was an optimal target
         location from Routh’s sniper hide. Additionally, Routh had a relatively
         unobstructed view of the 7th fairway and green and the 7th hole flag from
         Routh’s location along the fence line.
         Routh’s chosen location had 360-degree concealment, and he would not have
         been seen by those on Summit Road or the 6th green because of the natural
         vegetation providing cover. The armor plates that were placed inside the tote
         bag and backpack attached to the fence with enough space between the
         placement of the two bags for a clear view shooting position, the loaded firearm
         that contained a magazine that could contain 30 rounds of ammunition with a
         round already in the chamber, the safety being off, and Routh’s choice to
         position himself outside of the golf course with his vehicle parked close by,
         indicate that Routh was prepared to start a gunfight in a defensible position
         with an easy escape route. The position taken on the outside of the golf course
         was optimal for Routh’s ability to balance shooting with getting away without
         harm. Items listed by Routh including a poncho, bug spray, and “quiet” plastic
         show that he was willing to position himself there for long periods of time and
         wanted items that would permit him to do so even in adverse and changing
         conditions.
         The SKS Rifle: Routh’s firearm recovered from the sniper hide was a Norinco
         SKS rifle made in China, that had a 30 round detachable box magazine
         inserted into the rifle. There were 11 rounds in the magazine and one round in
         the chamber for a total of 12 rounds. The witness is familiar with this type of
         weapons platform based upon his training and experience in the field,
         including deployments to Afghanistan. The rifle is a gas operated semi-
         automatic shoulder fired weapon that shoots a 7.62 x 39 mm round. It is semi-
         automatic because every time the trigger is depressed a round is fired. It is gas
         operated because a portion of high-pressure gas from the cartridge being fired
         is used to power a mechanism to extract the spent case and insert a new
         cartridge into the chamber so the individual is not required to cycle the action
         manually like on a bolt action rifle. In other words, a round can be fired as fast
         as an individual can pull the trigger. The SKS rifle and the similar AK-47 are
         Soviet style weapons platforms that are relatively easy and cheap to purchase
         in the United States. The close location of the cart path and the green to the

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         6th hole, and the number of rounds in the magazine, meant that anyone with
         any degree of familiarity with this rifle could have hit a target at those
         locations, among others. Because a round was located in the chamber, Routh
         had at minimum some degree of familiarity with this weapon and understood
         that the rifle would not have fired unless a round was in the chamber as
         opposed to just being loaded into the magazine and inserted into the rifle
         without cycling the action to insert a round. The use of a high-capacity
         magazine allowed more rounds to be fired at the target, and the chain link
         fence could have been used to stabilize the weapon for firing. According to
         Special Agent Schnelle’s training and experience Routh would have been able
         to acquire his target and fire all of the rounds in the magazine in a matter of
         seconds.

   To rebut these opinions, the Defense filed its Expert disclosure on March 28, 2025

   and on May 30, 2025 after the operability testing per DE 128. Notably, if the Court

   compares the disclosures side by side, it will become apparent that the Defendant

   styled his expert notice after that of Special Agent Schnelle because the Defendant’s

   proposed expert is the same type of expert 1. Nevertheless, the government now

   objects to the Defendant’s expert’s testimony.




   1 While  the government attempts to discredit the Defense expert for his current
   employment as commercial airline pilot, this disparagement is unwarranted. He
   served our country in the United States Marine Corps for eight years, including
   leading ground combat operations and as a team leader, chief scout, and platoon
   sergeant. For his outstanding achievement and meritorious service in Iraq, he was
   awarded the Navy Achievement Medal. After graduating from the USMC Scout
   Sniper School, including the basic, urban scout, urban reconnaissance, and advanced
   programs, he became a Chief Instructor. He then served in National Guard for 14
   years, including domestic and international deployment to Afghanistan and Iraq, and
   as a law enforcement officer in two states for 9 concurrent years. Veterans, who
   served our country for over two decades, cannot and should not be discounted for their
   indispensable knowledge and experience. If so, the Government would strip the
   Defense from the ability to hire any expert in this field as current military officers
   and contractors advised the Defense that they have a conflict in this case because the
   President of the United States is the alleged victim and also the Commander-in-
   Chief. As such, the Defense contracted with a civilian veteran to testify as an expert.
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                                        ARGUMENT

   “Few rights are more fundamental than that of an accused to present witnesses in

   his own defense. Indeed, this right is an essential attribute of the adversary system

   itself.” Taylor v. Illinois, 484 U.S. 400, 408, (1988) (internal citations omitted).

   Glaringly omitted from the Government’s motion is the recent decision from the

   Eleventh Circuit in United States v. Graham, 123 F.4th 1197 (11th Cir. 2024), where,

   in December of last year, the Court vacated a multi-defendant, 38-day trial where the

   trial court erroneously excluded the Defendant’s expert based on three grounds made

   by the government, all of which were “mistaken on either the facts, the law, or both.”

   Graham held that where the government presents expert evidence to support a

   certain theory, a defendant is entitled to rebut that theory with expert evidence of his

   own. United States v. Graham, 123 F.4th 1197, 1266 (11th Cir. 2024) (citing United

   States v. Word, 129 F.3d 1209, 1212-13 (11th Cir .1997) (reversing conviction because

   the Defendant “was not afforded the opportunity to present evidence to counter the

   government's argument,” as the government’s “trial strategy made this defense

   evidence highly significant”); see also Panger v. Duluth, Winnipeg & Pac. Ry. Co., 490

   F.2d 1112, 1117 (8th Cir. 1974) (explaining that, where the plaintiff offered a lay

   opinion in his own testimony, “the Defendant should have been accorded the right to

   counter that evidence with either factual evidence of its own or properly proffered

   expert testimony”). To be clear, “It is an abuse of discretion to exclude the otherwise

   admissible opinion of a party's expert on a critical issue, while allowing the opinion




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   of his adversary's expert on the same issue.” United States v. Gaskell, 985 F.2d 1056,

   1063 (11th Cir. 1993).

           Any incongruence in disclosure is simply a function of the burdens of proof in

   a criminal case. United States v. Mehta, 236 F. Supp. 2d 150, 156 (D. Mass. 2002), see

   also United States v. Robinson, 44 F. Supp. 2d 1345, 1347 (N.D. Ga. 1997) (Stating

   that “a defendant…is never required to introduce any evidence, and therefore, the

   Defendant has a right to predicate a trial strategy…on an attack (upon) the opinion

   evidence offered by the government”). Of course, the Court will take great care in

   evaluating the government’s motion to exclude as, “Time and again, courts (including

   ours) have held that when a defendant's expert was wrongfully excluded, and that

   expert sought to rebut the government's own expert on a central issue (e.g., an

   element of the offense), the error was prejudicial.” United States v. Graham, 123 F.4th

   1197, 1272 (11th Cir. 2024).

      I.      The Defense Expert Disclosure does not Violate Rule 16

           Defense complied with both Federal Rule of Criminal Procedure 16(b)(1)(C)(iii)

   and Local Rule 88.10(o)(3). Even though the Defense expert is primarily being used

   for impeachment and rebuttal, the Defense gave notice of their expert, qualifications,

   prior testimony, and opinions and bases/reasons and complied with the Court’s

   deadlines for Defense expert disclosures. But see United States v. Petrie, 302 F.3d

   1280, 1288 (11th Cir. 2002)(exclusion upheld when the Defense disclosed the expert

   the Friday before a Monday trial older than a year and a half) and United State v.

   Johnson, 219 F.3d 349, 358 (4th Cir. 2000) (exclusion upheld when Defense only gave



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   an expert’s resume). If the government’s confusion about the expert is genuine, then

   it is notable that the government made no attempts to confer with undersigned

   counsel to clear any misunderstanding, nor did the government request any

   additional information of our expert. This is likely because the Defense expert

   disclosure mirrors that of the government, tracks their expert’s disclosure language,

   and mainly seeks to rebut the Government’s expert’s testimony. The Defense Expert

   Disclosure does not violate the Federal Rules of Evidence.

             i.    Daubert

         The Government is not making a genuine Daubert challenge. The Defense

   expert is testifying in the same fields as the government experts. This proposed

   testimony would “assist the trier of fact” to understand the evidence. United States v.

   Frazier, 387 F.3d 1244, 1262 (11th Cir. 2004). The principles of Daubert apply to those

   with technical and other specialized knowledge. Kumho Tire Co. v. Carmichael, 526

   U.S. 137, 151 (1999). Those types of experts are not required to present formal

   “opinions,” but rather can provide “background information on a particular issue…”

   See Fed. R. Crim. P. 16 Advisory Comm. Notes, 1992 Amend.

         The fallacy of the government’s Daubert challenge is apparent where they are

   not challenging nor requesting a hearing to contest the expert’s field of testimony and

   whether it would be accepted in the community or previously precluded. See e.g.

   United States v. Scheffer, 523 U.S. 303 (1998)(discussing the validity of polygraph

   testing). Finally, the Motion is untimely, as the Order Setting Additional Pre-Trial

   Deadlines and Instructions, DE 109, stated that all Daubert motions were due on



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   April 29, 2025. The government filed this motion more than a month late, without

   requesting the leave of the Court to file after the deadline and without conferring

   with undersigned counsel regarding our position.

             ii.   Relevance

         Rebuttal witnesses are always relevant, as the question of relevance was

   established during the presentation of the government’s evidence. “The underlying

   rationale [of rebuttal evidence] is that when [a party] has opened the door to a line of

   testimony by presenting evidence thereon, he cannot object to the [opposing party]

   accepting the challenge and attempting to rebut the proposition asserted.” United

   States v. Hall, 653 F.2d 1002, 1006 (5th Cir. 1981) cited in States v. Frazier, 387 F.3d

   1244, 1270 (11th Cir. 2004).

          The Government cannot utilize Rule of Evidence 401 to exclude an expert

   witness testifying regarding the same topic as their own. Evidence is relevant if it

   has, “Any tendency to make a fact more or less probable than it would be without the

   evidence; and the fact is of consequence in determining the action.” Fed. R. Evid. 401.

   The Eleventh Circuit has explained that the standard for what constitutes relevant

   evidence is a low one. See United States v. Graham, 123 F.4th 1197, 1266 (11th Cir.

   2024). Further, under Federal Rule of Evidence 702, expert testimony is permitted

   when “other specialized knowledge will assist the trier of fact to understand the

   evidence or determine a fact at issue.” Here, the Government proposes to use a former

   military expert to explain the shooter’s positioning activities. As such, the Defense

   should likewise be permitted to introduce an expert to impeach the government’s



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   witness and their opinions regarding the shooters positioning and his other activities.

   The government acknowledges this evidence is relevant in their own expert

   disclosure, and as such, the topics and opinions are relevant to the Defense as well

   and to assist the jury in understanding the evidence. See United States v. Graham,

   123 F.4th 1197, 1266 (11th Cir. 2024) (“If the government thought that [expert gang

   testimony]-related evidence was irrelevant, it would not have presented this evidence

   for the jury to consider.”)

          The Defense also has a relevance and due process interest in rebutting the

   government’s expert through the introduction of additional evidence and through

   impeachment. The government should not be permitted to mislead the jury and

   introduce inaccurate or incomplete information. If that occurs, the Defense expert

   would introduce evidence to illuminate the truth for the jury.

          For example, if the government’s expert testifies to his opinion given in the

   government’s expert notice that, “According to Special Agent Schnelle’s training and

   experience Routh would have been able to acquire his target and fire all of the rounds

   in the magazine in a matter of seconds” then the Defense should be able to explain to

   the jury that 1) there were problems with Mr. Routh’s alleged setup that could have

   prevented him from acquiring any target and 2) the jamming of the rifle could have

   prevented the firing of all the rounds of the magazine. To prevent such exculpatory

   evidence and impeachment would violate Mr. Routh’s fundamental rights to a fair

   trial and deprive the jury the truth of the evidence.




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            iii.   Precluding a Defense Expert would Violate Routh’s Constitutional
                   Rights to Present a Defense.

         The Fifth Amendment Due Process Clause and the Sixth Amendment protect

   Mr. Routh’s rights to compel witnesses and present a complete defense. The

   government cannot disparage or hinder the ability of an accused to mount a defense.

   The Government cannot utilize the Judiciary to strip the Defense’s ability to

   challenge any of their expert testimony. This would be constitutional error.

            iv.    Non-Expert Testimony

         The Government moves to exclude Mr. McClay from any testimony at all.

   Again, this would create obvious reversible error. For the subject matter testimony

   that does not involve opinions, Mr. McClay is permitted to testify to his observations

   when he conducted the operability testimony and reviewing the discovery materials

   under Federal Rule of Evidence 701. United States v. Hernandez-Bautista, 215 Fed.

   Appx. 727 (10th Cir. 2007). No notice is needed when a witness, who could be an

   expert, nevertheless offers only layperson observations. United States v. Horn, 129 F.

   1275 (11th Cir. 2025); United States v. Stahlman, 934 F.3d 1199 (11th Cir. 2019).

   While the Government may not enjoy the results of the Defense operability testing as

   permitted by the Court, they cannot utilize the Court to now hide the results from

   the jury and mislead the jury into believing the firearm was fully operable- it was

   not. The firearm jammed on both of the expert’s test fires. Because the government

   objected to more robust testing, the Defense expert’s testimony would be limited to

   the testing he conducted and that was limited to the government’s expert’s choice to




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   only live fire two bullets. During the Defense expert’s attempted two shot fire the

   second bullet jammed each time.

         While the Defense has stipulated that impossibility is not a defense to the

   crimes charged, the Defense maintains that the firearm’s inoperability and

   inaccuracy is circumstantial evidence of Mr. Routh’s lack of criminal intent. Indeed,

   if the Court admits the government’s proposed 404(b) evidence of prior firearm

   possession over the Defendant’s objection, see DE 122:18-19, then the Defense will

   seek to introduce evidence in those police reports/witness statements that at least

   one of those firearms was not fully operable and also jammed. 2 In other words, if the

   allegations are to be believed, then Mr. Routh has a history of carrying borderline

   inoperable firearms. If the 404(b) evidence is admitted over the Defendant’s objection,

   then the Defense will seek to cross-examine on this pattern of carrying firearms that

   jam and are not fully operable. Such evidence would support the Defense theory that

   Mr. Routh did not intend to shoot the firearm.

         If the government chooses to introduce evidence that the firearm is operable,

   then the jury is entitled to hear that the firearm jammed twice upon testing. The

   government may choose not to proceed with evidence of operability, which is their

   decision. But if the government introduces evidence of operability, then the Defense




   2 The Defense recognizes the order issued today by the Court at DE 182 that states,

   “the April and December 2002 incidents likely should not be introduced at trial,
   subject to reconsideration if a defense or material development warrants
   reassessment.” The defense would only seek to introduce the alleged pattern of faulty
   firearm possession if the Court admits the prior allegations.
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   has the right to contest and impeach such testimony so that the jury hears the

   complete truth of the evidence.

         Putting operability aside, if the government calls an expert to give an opinion

   about a “snipers hide,” positioning, the ability of the Defendant to empty the entire

   magazine in seconds, or the ability to hit the alleged target, then the Defense is

   entitled to an expert to explain, impeach, and rebut it. Reversible error may result in

   any exclusion over Mr. Routh’s objection.


                                      CONCLUSION

         In conclusion, the Defense requests this Court deny the Government’s Motion

   to Exclude the sole Defense Expert Witness, Michael McClay. The government cannot

   strip Mr. Routh from presenting a complete defense and rebutting any government

   expert testimony.

   Respectfully submitted,


   HECTOR A. DOPICO
   Federal Public Defender

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                               CERTIFICATE OF SERVICE

                I hereby certify that on June 23, 2025, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices

   of Electronic Filing generated by CM/ECF or in some other authorized manner for

   those counsel or parties who are not authorized to receive electronically Notices of

   Electronic Filing.

                                           s/ Kristy Militello
                                           Kristy Militello




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